                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                              WESTERN DIVISON

MITCHELL W. KIRKSEY,                    )
                                        )
                    Plaintiff,          )      No. 19 CV 50302
             vs.                        )
                                        )      Judge Iain D. Johnston
SERGEANT KRAMER,                        )
                                        )      Magistrate Judge Lisa A. Jensen
                    Defendant.          )


DEFENDANT’S MOTION TO EXTEND TIME TO COMPLETE DISCOVERY

      Defendant Sergeant Daniel Kramer, by his attorneys, Patrick D. Kenneally,

McHenry County State’s Attorney, and his Assistant State’s Attorneys, George M.

Hoffman and Jana Blake Dickson, hereby moves this Court to extend the deadline

to complete discovery in this case an additional two months, to and including March

1, 2021. In support of this Motion, defendant states as follows:

      1.     On September 2, 2020, this Court entered a case management order

requiring, inter alia, that fact discovery be completed by December 31, 2020. Dkt #

42. That Order also provided that “the deadline to amended [sic] pleadings, add new

counts or parties, and file third-party complaints is 11/16/20.” Id.

      2.     On November 30, 2020, plaintiff filed a Motion for Leave to File an

Amended Complaint, but did not attach a copy of his proposed amended complaint.

Dkt #57.

      3.     In an Order dated December 2, 2020, the Court denied plaintiff’s

Motion for Leave to File an Amended Complaint without prejudice, and instructed

plaintiff that he should file an amended complaint that “must stand on its own.”
Dkt # 59.

      4.     On December 14, 2020, plaintiff filed another Motion for Leave to File

an Amended Complaint, to which he attached his proposed Amended Complaint.

Dkt ## 61 & 61-1. The Court has not yet ruled on plaintiff’s motion.

      5.     Defendant intends to depose plaintiff’s sister, Melissa Kirksey, and

another woman, Abby Farina. Both Ms. Kirksey and Ms. Farina were present at the

house where plaintiff was arrested on July 20, 2018. Their testimony is relevant to

disputed fact issues in this case.

      6.     Counsel for defendant caused a subpoena for deposition to be served on

Melissa Kirksey to be taken on November 30, 2020. On November 20, 2020, counsel

served a Notice of Deposition on the plaintiff, advising him of the deposition of Ms.

Kirksey.

      7.     On November 30, 2020, counsel for defendant and Melissa Kirksey

appeared via Zoom for the scheduled deposition, but plaintiff did not appear.

Counsel then contacted the Jacksonville Correctional Center where plaintiff is

incarcerated and was informed that plaintiff’s cell block was in quarantine so he

could not participate. Therefore, Ms. Kirksey’s deposition did not proceed. Following

up with the Jacksonville Correctional Center to re-schedule, counsel was advised

that plaintiff did not wish to participate in the deposition of Ms. Kirksey. Counsel

then attempted to re-schedule Ms. Kirksey’s deposition for either the week of

December 14 or December 21, but Ms. Kirksey advised that her schedule would not

allow her to appear either of those weeks due to school, family and upcoming



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holidays. Counsel again contacted Ms. Kirksey by email on December 14, 2020, to

see if she would be available the last week of December. On December 21, Ms.

Kirksey responded by email, stating “With the holidays and some family matters I

am not available until the first of the year.”

      8.     By December 3, a State’s Attorney’s Office’s investigator had located

Ms. Farina, who is understood to be transient and does not appear to have a

permanent address. However, the investigator contacted Ms. Farina by telephone,

and she agreed to appear on December 18, but failed to do so. Although Ms. Farina

has not yet been served with a subpoena, she has been in contact with the State’s

Attorney’s Office’s investigator by telephone and text messaging.

      9.     In addition, defendant needs to conduct further discovery concerning

allegations in plaintiff’s Amended Complaint, assuming the Court grants him leave

to file it. Specifically, in his original Complaint, plaintiff sought only punitive

damages. Dkt # 11 at 7. In his proposed Amended Complaint, plaintiff has

withdrawn his request for punitive damages and now claims compensatory

damages. Dkt # 61-1 at 7. In his motion, plaintiff characterizes this change as being

the result of a “scrivener’s error.” Dkt # 61 at ¶ 2.

      10.    In his Initial Disclosures, plaintiff failed to provide a “computation of

any category of damages claimed by the disclosing party.” Dkt # 46. Plaintiff did not

supplement his disclosures with a computation of damages by November 30, 2020,

as ordered. Dkt # 42. At his deposition, taken on November 4, 2020, plaintiff

testified that he was only seeking punitive damages.



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      11.    Defendant seeks this extension to obtain the depositions of Ms.

Kirksey and Ms. Farina, and to propound discovery directed to the plaintiff’s newly-

asserted claim for compensatory damages.

      12.    This is the first request by defendant to extend discovery.

      WHEREFORE, defendant requests this court to extend the discovery

deadline for two month, to and including March 1, 2021.


                                        Sergeant Daniel Kramer


                                       By: /s/ George M. Hoffman
                                           One of his Attorneys


Patrick D. Kenneally
McHenry County State’s Attorney
George M. Hoffman (ARDC No. 6180738)
Jana Blake Dickson (ARDC No. 6307451)
Assistant State’s Attorneys
McHenry County Government Center
2200 North Seminary Avenue
Woodstock, Illinois 60098
815·334·4159 (phone)
815·334·0872 (fax)
gmhoffman@mchenrycountyil.gov
jeblake@mchenrycountyil.gov




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                         CERTIFICATE OF SERVICE


     The undersigned attorney, George M. Hoffman, hereby certifies that a copy of
Defendant’s Motion to Extend Time to Complete Discovery was served on
      Mitchell Kirksey
      Jacksonville Correctional Center
      R-52062
      2268 E. Morton Ave.
      Jacksonville, IL 62650

by depositing a copy in the U.S. Mail located at 2200 N. Seminary Avenue,
Woodstock, Illinois, First-Class postage prepaid, on December 24, 2020.


                                      /s/ George M. Hoffman
                                          George M. Hoffman




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